       Case 2:14-cr-00276-JAM Document 193 Filed 12/01/16 Page 1 of 3


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     JESSICA JUAREZ
 6
                       UNITED STATES MAGISTRATE COURT
 7

 8                      EASTERN DISTRICT OF CALIFORNIA

 9

10   UNITED STATES OF AMERICA,            ) Case No.: 2:14 CR 276 JAM
                                          )
                                          )
11                     Plaintiff,         ) STIPULATION ORDER TO ALLOW
                                          ) JESSICA JUAREZ
12
     vs.                                  ) TO TRAVEL TO MEXICO TO
                                          ) VISIT FAMILY
13                                        )
     JESSICA JUAREZ,                      )
14                                        )
                                          ) Hon. Kendall J. Newman
15                     Defendant.         )
                                          )
16                                        )

17

18         IT IS HEREBY STIPULATED AND AGREED between defendant Jessica
19   Juarez, by and through her undersigned defense counsel, and the United
20   States of America by and through its counsel, Assistant U.S. Attorney Samuel
21   Wong, Ms. Juarez may travel to Mexico on December 16, 2016 and return on
22   January 2, 2017 for the purpose of visiting her family who reside in Mexico
23   and visiting the grave of her recently deceased grandfather. Ms. Juarez will
24   fly from Sacramento, CA (American Airlines Flight #2235), to Fort Worth,
25   Texas, and from Fort Worth, Texas, to Guadalajara, Mexico (American
26   Airlines Flight #5770), on December 16, 2016. Ms. Juarez will return from
27   Guadalajara, Mexico, to Los Angeles, CA (Delta Airlines Flight #8145), and
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                                           1
       Case 2:14-cr-00276-JAM Document 193 Filed 12/01/16 Page 2 of 3


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     then LAX to San Jose, CA (Delta Flight #1460), on January 2, 2017. (Ms.
 2
     Juarez’s flight information is attached as Exhibit “A”.)
 3
           In Mexico, Ms. Juarez will be picked up at the airport by her aunt and
 4
     uncle. Ms. Juarez will be staying at her grandparent’s home in Los Reyes,
 5
     Michoacán, Mexico (Miguel Hidalgo 30, Colonia Obrera, 59961). Ms. Juarez
 6
     will be staying with her grandparent’s and her parents (and various relatives
 7
     will be visiting as well).
 8
           It is further stipulated Ms. Juarez must check-in with her Pre-Trial
 9
     Services Officer as required by her Pre-Trial Services Officer. The United
10
     States shall return Ms. Juarez’s passport to Pre-Trial Services in Sacramento,
11
     CA. Pretrial Services shall return Ms. Juarez's passport to her no later than
12
     December 14, 2016. Ms. Juarez must return to the United States by January
13
     2, 2017 and must check in with, and surrender her passport to, her Pre-Trial
14
     Services Officer within 24 hours of returning to the United States, but in any
15
     event, no later than January 3, 2017.
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           Pretrial Services reports Ms. Juarez is in compliance with all conditions
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     of her release; however, they (USPTS) defer to the Court for approval of
18
     travel.
19
           IT IS SO STIPULATED.
20

21   Dated: November 29, 2016                     /S/ John R. Manning
                                                 JOHN R. MANNING
22
                                                 Attorney for Defendant
23                                               Jessica Juarez

24
                                                 PHILLIP A. TALBERT
25                                               Acting United States Attorney
26

27   Dated: November 29, 2016             By:     /S/ Samuel Wong ____
                                                 SAMUEL WONG
28                                               Assistant United States Attorney
                                             2
      Case 2:14-cr-00276-JAM Document 193 Filed 12/01/16 Page 3 of 3


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     IT IS SO ORDERED,
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     Dated: November 30, 2016
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